






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS


RICHARD CARRASCO,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.
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No. 08-07-00103-CR



Appeal from the


175th District Court


of Bexar County, Texas


(TC# 2005CR1554)


MEMORANDUM OPINION


	Pending before the Court is Appellant's motion to dismiss this appeal pursuant to Tex. R.
App. P. 42.2(a), which states that:

		At any time before the appellate court's decision, the appellate court may
dismiss the appeal upon the appellant's motion.  The appellant and his or her attorney
must sign the written motion to dismiss and file it in duplicate with the appellate
clerk, who must immediately send the duplicate copy to the trial court clerk.


	Appellant and his attorney have filed and signed the motion to dismiss.  This Court has not
issued an opinion in this cause, and the Clerk of this Court has forwarded a duplicate of this motion
to the District Clerk of Bexar County, Texas.  As Appellant has complied with the requirements of
Rule 42.2(a), the Court has considered this cause on Appellant's motion and concludes the motion
should be granted and the appeal should be dismissed.  We therefore dismiss the appeal.



						KENNETH R. CARR, Justice

July 5, 2007


Before Chew, C.J., McClure, and Carr, JJ.


(Do Not Publish)


